              Case 21-10737-elf                    Doc          Filed 10/04/21 Entered 10/04/21 11:59:02                                   Desc Main
   )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH               Document     Page 1 of 3
Debtor 1                 6FRWW&KULVWRSKHU*RRGPDQ
                         ___B_______B_____BB_________BBBBB___________________________BBBBBBBB_


Debtor 2                 _______BB____________BBBBB_______________BBBBBBBBBBBBBBBBBB_BBBBBBBB_
(Spouse, if filing)

                                        (DVWHUQ'LVWULFWRI3HQQV\OYDQLD
8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

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 2IILFLDO)RUP 410S1
 1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                                                                                      

 ,IWKHGHEWRU¶VSODQSURYLGHVIRUSD\PHQWRISRVWSHWLWLRQFRQWUDFWXDOLQVWDOOPHQWVRQ\RXUFODLPVHFXUHGE\DVHFXULW\LQWHUHVWLQWKH
 GHEWRU¶VSULQFLSDOUHVLGHQFH\RXPXVWXVHWKLVIRUPWRJLYHQRWLFHRIDQ\FKDQJHVLQWKHLQVWDOOPHQWSD\PHQWDPRXQW)LOHWKLVIRUP
 DVDVXSSOHPHQWWR\RXUSURRIRIFODLPDWOHDVWGD\VEHIRUHWKHQHZSD\PHQWDPRXQWLVGXHSee Bankruptcy Rule 3002.1.
 1DPHRIFUHGLWRU                                                                                                           
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 :HOOV)DUJR%DQN1$




                                                                                                 'DWHRISD\PHQWFKDQJH
                                                                                                 Must be at least 21 days after date
                                                                                                 of this notice                              
                                                                                                                                             _____________


                                                                                                 1HZWRWDOSD\PHQW
                                                                                                                                             
                                                                                                                                            $____________BBBB
                                                                                                 Principal, interest, and escrow, if any
 /DVWGLJLWVof any number you use to
 LGHQWLI\WKHGHEWRU¶VDFFRXQW                                    ____
                                                                  ____  ____
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   3DUW           (VFURZ$FFRXQW3D\PHQW$GMXVWPHQW

     :LOOWKHUHEHDFKDQJHLQWKHGHEWRU¶VHVFURZDFFRXQWSD\PHQW"

        
        ✔    No
            <HV$WWDFKDFRS\RIWKHHVFURZDFFRXQWVWDWHPHQWSUHSDUHGLQDIRUPFRQVLVWHQWZLWKDSSOLFDEOHQRQEDQNUXSWF\ODZ'HVFULEHWKHEDVLV
             IRUWKHFKDQJH,IDVWDWHPHQWLVQRWDWWDFKHGH[SODLQZK\



             &XUUHQWHVFURZSD\PHQWBBBBBBBBBBBBBBBBB                                                   1HZHVFURZSD\PHQWBBBBBBBBBBBBBBBBB

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     :LOOWKHGHEWRU¶VSULQFLSDODQGLQWHUHVWSD\PHQWFKDQJHEDVHGRQDQDGMXVWPHQWWRWKHLQWHUHVWUDWHRQWKHGHEWRU V
        YDULDEOHUDWHDFFRXQW"
        ✔
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
             DWWDFKHGH[SODLQZK\



             &XUUHQWLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB                                      1HZLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB

             &XUUHQWSULQFLSDODQGLQWHUHVWSD\PHQW $ ______________BBB_                   1HZSULQFLSDODQGLQWHUHVWSD\PHQW $ ___________BBB____

  3DUW2WKHU3D\PHQW&KDQJH


        :LOOWKHUHEHDFKDQJHLQWKHGHEWRU¶VPRUWJDJHSD\PHQWIRUDUHDVRQQRWOLVWHGDERYH"
               No
           ✔
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
            5HDVRQIRUFKDQJH
             3D\PHQWFKDQJHUHVXOWLQJIURPHVFURZVKRUWDJHGURSRII



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 Official Form 410S1                                                  1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                page 1
             6FRWW&KULVWRSKHU*RRGPDQ                                                               
        Case 21-10737-elf                   Doc Filed       10/04/21 Entered 10/04/21
             _____BB_________________________________________________
      Debtor 1
             First Name       Middle Name   Last Name
                                                                               Case number11:59:02            Desc Main
                                                                                          (LINQRZQ) ______________________

                                                 Document           Page 2 of 3
 3DUW 6LJQ+HUH


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 &KHFNWKHDSSURSULDWHER[

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHLQIRUPDWLRQSURYLGHGLQWKLVFODLPLVWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJH
 LQIRUPDWLRQDQGUHDVRQDEOHEHOLHI




 8    /s/John Tamburo
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Signature
                                                                                    10/04/2021
                                                                            'DWHBBBBBBBBBBBBBBB




 Print:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        Tamburo, John                                                              VP Loan Documentation
                                                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        First Name           Middle Name      Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                  Street

            P.O. Box 1629
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Minneapolis                             MN      55440-9790
            BBBB_______________________________________________BBBBBBBB__
              City                                       State      ZIPCode



                     800-274-7025                                                  NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                  (PDLO




Official Form 410S1                                       1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                            page 
           Case 21-10737-elf           Doc      Filed 10/04/21 Entered 10/04/21 11:59:02                      Desc Main
                       UNITED STATES BANKRUPTCY COURT
                                                 Document     Page 3 of 3

                                                   Eastern District of Pennsylvania


                                                    Chapter 13 No. 2110737
                                                    Judge: Judge Eric L. Frank

In re:
Scott Christopher Goodman
                                           Debtor s 

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before October 05, 2021 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                             %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                     Scott Christopher Goodman
                                     1105 Wedgewood Road

                                     Flourtown PA 19031



                                    %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                     N/A




Debtor’s Attorney:                  %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                     MICHAEL W. GALLAGHER

                                     600 West Germantown Pike
                                     Suite 400
                                     Plymouth Meeting PA 19462


                                    %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                     N/A




Trustee:                            %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                     KENNETH E. WEST

                                     1234 Market Street - Suite 1813

                                     Philidelphia PA 19107

                                                          /s/John Tamburo
                                                          @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                          VP Loan Documentation
                                                          Wells Fargo Bank, N.A.
